
In re Moore, Dennis; Moore, Kathy Lank-ford; Moore, Cody; Moore, Taylor; Highland Insurance Co.; — Plaintiffs); applying for writ of certiorari and/or review; to the Court of Appeal, Second Circuit, No. 25008-CA; Parish of Webster, 26th Judicial District Court, Div. “C”, No. 50,602.
*759Granted. Judgment of the court of appeal is reversed. Because there are genuine issues of material fact as to whether the contract work was part of the principal’s trade, business or occupation, motion for summary judgment is denied. Case remanded to the district court for further proceedings.
HALL, J., would grant and docket for argument.
DENNIS, J., not on panel.
